       Case 1:06-cr-00099-SPW Document 320 Filed 05/05/21 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,                       CR 06-99-BLG-SPW

                   Plaintiff,
                                                ORDER
vs.

BUDDY SHAW, JR.,

                   Defendant.

      The United States has filed an unopposed motion requesting that United

States Probation Officer Kade Henderson be allowed to appear at the detention

hearing scheduled for May 6, 2021 at 9:30 a.m. by Zoom. (Doc. 319.) Good cause

appearing, IT IS HEREBY ORDERED that the motion is GRANTED. Mr.

Henderson may appear at the detention hearing by Zoom.

      DATED this 5th day of May, 2021.

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                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
